Petition for Writ of Mandamus Denied and Memorandum Opinion filed
August 11, 2016.




                                    In The

                   Fourteenth Court of Appeals

                              NO. 14-16-00465-CV



                 IN RE IRAJ S. JABBARY, et. al., Relators


                        ORIGINAL PROCEEDING
                          WRIT OF MANDAMUS
                             281st District Court
                            Harris County, Texas
                      Trial Court Cause No. 2014-41707

                       MEMORANDUM OPINION

      On June 10, 2016, relators Iraj S. Jabbary, ABC Dentistry Pasadena, PA,
ABC Dentistry Old Spanish Trail, PLLC, ABC Dentistry West Orem, PLLC, ABC
Dentistry Hillcroft, PLLC, and ABC Dentistry, PA filed a petition for writ of
mandamus in this court. See Tex. Gov’t Code Ann. § 22.221 (West 2004); see also
Tex. R. App. P. 52. In the petition, relators ask this court to compel the Honorable
Sylvia Matthews, presiding judge of the 281st District Court of Harris County, to
(1) vacate the May 25, 2016 order setting this case for trial on September 19, 2016,
and (2) vacate the May 31, 2016 order rendering judgment on motions for
summary judgment.

      To obtain mandamus relief, relators must show both that the trial court
clearly abused its discretion and that relator has no adequate remedy by appeal. See
In re Prudential Ins. Co., 148 S.W.3d 124, 135–36 (Tex. 2004) (orig. proceeding).
As the ones seeking relief, relators have the burden of providing this court with a
sufficient record to establish their right to mandamus relief. See Walker v. Packer,
827 S.W.2d 833, 837 (Tex. 1992).

      Relators have not provided this court with a record that establishes their
entitlement to mandamus relief. Accordingly, we deny relators’ petition for writ of
mandamus.


                                                  PER CURIAM



Panel consists of Chief Justice Frost and Justices McCally and Brown.




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